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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA


                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 UNITED STATES OF AMERICA,                       CR 18-155-BLG-DLC

                          Plaintiff,
                                                 UNITED STATES’
             vs.                                 DECLARATION REGARDING
                                                 THE PRODUCTION OF
 JAMES E. “DOC” JENSEN, JR.,                     DISCOVERY

                          Defendant.



      The United States hereby declares that it has produced 1 all available

electronic evidence to the defense, has verified that said evidence is in its original

format, and ensured that defense counsel has been able to view the evidence.


      1
          Certain evidence in this case is marked as “Sensitive Material” under
                                           1
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      The United States further declares that a detailed index has been provided to

the defense describing the evidence referenced in this disclosure.

      DATED this 18th day of January, 2019.

                                       KURT G. ALME
                                       United States Attorney


                                       s/ Zeno B. Baucus
                                       ZENO B. BAUCUS
                                       Assistant U. S. Attorney




Local Rule 16.4 for the protection of witnesses. Based on this designation,
defense counsels have been advised in the provided index that some material is
“available for review” at the United States Attorney’s Office in Billings, Montana.
                                         2
